                      Case 1:24-cv-10684-ADB Document 27 Filed 07/11/24 Page 1 of 2

AO 399 (01/09) Waiver of the Service of Summons



                                     UNITED STATES DISTRICT COURT
                                                                       for the
                                                               District of Massachusetss
IN RE: MOVEIT CUSTOMER DATA
SECURITY BREACH LITIGATION
                        JONI LIPSON                                              MDL NO. 1:23-md-03083-ADB
                             Plaintiff
                                v.                                           )   Civil Action No. 1:24-cv-10684
                                                                             )
     WELLTOK, INC., VIRGIN PULSE, INC.,                                      )
   COREWELL HEALTH EAST, and PROGRESS                                        )
        SOFTWARE CORPORATION                                                 )

                            Defendant

                                            WAIVER OF THE SERVICE OF SUMMONS

To: Karen Riebel (khriebel@locklaw.com)
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from           07/03/2024          , the date when this request was sent (or 90 days if it was sent outside the United
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date       7/8/24
ok,                                                                                     Signature of the attorney or unrepresented party

                                                                                                   Amanda N. Harvey
                         Welltok, Inc.                                                             Kayleigh J. Watson
                                                                                                  Claudia D. McCarron
        Printed name of party waiving service of summons                                                 Printed name

                                                                                              MULLEN COUGHLIN LLC

                                                                                                           Address

                                                                                                   aharvey@mullen.law
                                                                                                   kwatson@mullen.law
                                                                                                  cmccarron@mullen.law
                                                                                                        E-mail address


                                                                                                       267-930-4770
                                                                                                      Telephone number
                     Case 1:24-cv-10684-ADB Document 27 Filed 07/11/24 Page 2 of 2

                                         Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a
summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court
has no jurisdiction over this matter or over the defendant or the defendant’s property.

         If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence
of a summons or of service.
           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the
plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had
been served.
